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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES CIVIL ACTION NO. 05-4182
CONSOLIDATED LITIGATION
SECTION “Kk”
MAGISTRATE (2)

PERTAINS TO: Levee (05-4181 and 05-6073)
MRGO (05-4181) JUDGE DUVAL
Responder (05-4181)
MAG. WILKINSON

MOTION FOR SUMMARY JUDGMENT

Defendant, GOTECH, Inc., (“GOTECH’) moves this Court to dismiss the claims of all
plaintiffs in the two above cases on the grounds that (1) GOTECH did not perform “design,
construction and/or engineering services” on the 17" Street Canal, the Orleans Avenue Canal, the
Inner Harbor Navigation Canal (the Industrial Canal) or the Mississippi River Gulf Outlet
(MRGO); and (2) while GOTECH did provide engineering services on the London Avenue Canal,
such services were provided more than ten years prior to Hurricane Katrina and, therefore, should
be dismissed on the basis of peremption under LSA-RS 9:5607.

GOTECH specifically adopts the allegations in the joint motion by Burk-Kleinpeter, Inc.,
Eustis Engineering Company, Inc. and Modjeski and Masters, Inc., filed on June 1, 2006 [Doc.
463], to the extent they are applicable to the allegations against GOTECH.

GOTECH submits the following exhibits in support of its Motion for Summary Judgment:

Exhibit A - Affidavit of Rhaoul A. Guillaume, P.E.

Exhibit B - Affidavit of Bruce K. Dyson, P.E., P.L.S.

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Exhibit C - License Verification
WHEREFORE, defendant GOTECH, Inc., prays that this Court grant this motion and

dismiss the claims of all plaintiffs in the above two cases.

By attorneys:

LONG LAW FIRM, L.L.P.

bh / ttt

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CERTIFICATE

I HEREBY CERTIFY that a copy of the above and foregoing has been forwarded to all
counsel of record via electronic mail.

Baton Rouge, Louisianafthis" day of Aug “7

ADRIAN G. NADEAU

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